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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                                                            CASE NO.: 20-12751-BKC-MAM
                                                                          PROCEEDING UNDER CHAPTER 13

IN RE:

RON VIGDOR
XXX-XX-4069

_____________________________/
DEBTOR

                          NOTICE OF CONTINUED CONFIRMATION HEARING

   YOU ARE HEREBY NOTIFIED that the Confirmation Hearing has been continued to
September 10, 2020 at 9:00 AM at the United States Federal Bankruptcy Courthouse, 1515 North
Flagler Drive, Room 801, Courtroom A, West Palm Beach, FL 33401.

**EFFECTIVE IMMEDIATELY** Until further notice or unless directed otherwise, the court will
ONLY hold Telephonic hearings. The following telephonic service providers CourtCall (888) 882−6878 or
Court Solutions (917) 746−7476 will be permitted in ALL matters. Visit the court website to determine
which service provider is being used by the presiding judge. Individuals not represented by counsel will be
able to use the telephonic services FREE of charge. All attorneys shall advise their clients NOT to appear at
the courthouse.

PLEASE TAKE NOTICE the Court may dismiss the above-referenced case for failure to propose a
confirmable plan or for any other reason deemed necessary by the Court without further notice.

     I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Notice of Continued
Confirmation Hearing was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties
listed on the attached service list this 11th day of August, 2020.


                                                                   /s/ Robin R. Weiner
                                                                   _____________________________________
                                                                   ROBIN R. WEINER, ESQUIRE
                                                                   STANDING CHAPTER 13 TRUSTEE
                                                                   P.O. BOX 559007
                                                                   FORT LAUDERDALE, FL 33355-9007
                                                                   TELEPHONE: 954-382-2001
                                                                   FLORIDA BAR NO.: 861154
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                                                      NOTICE OF CONTINUED CONFIRMATION HEARING
                                                                      CASE NO.: 20-12751-BKC-MAM

                                      SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
RON VIGDOR
3900 NE 6TH DRIVE
BOCA RATON, FL 33431

ATTORNEY FOR DEBTOR
CHRISTIAN J. OLSON, ESQUIRE
C/O NOWACK & OLSON, PLLC
8551 SUNRISE BLVD, SUITE 208
PLANTATION, FL 33322

CHRISTIAN J. OLSON, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF
THIS NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
